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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO
                              CENTRAL DIVISION

PETER PERLOT, MARK MILLER, and RYAN
ALEXANDER,
                                    Plaintiffs,
       v.
                                                       Civil Case No.:
C. SCOTT GREEN, President of the University
of Idaho, BRIAN ECKLES, Dean of Students,
ERIN AGIDIUS, Director of the Office of Civil       VERIFIED COMPLAINT
Rights & Investigations, and LINDSAY EWAN,         Jury Trial Demanded
Deputy Director of the Office of Civil Rights
and Investigations, all individually and all in
their official capacities,
                                  Defendants.




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                         PLAINTIFFS’ VERIFIED COMPLAINT
   Plaintiffs, for their Verified Complaint against Defendants, state the following:

                                    INTRODUCTION

   1.   It is unconstitutional for the government to punish a private speaker because

of the speaker’s motivating ideology, opinion, or perspective, or because of the content

of that speaker’s expression. This prohibition against viewpoint and content

discrimination applies fully to public universities.

   2.   The University of Idaho has failed to abide by this fundamental, clearly

established principle because it has enforced its anti-harassment policies to punish

students based on the content and viewpoint of those students’ protected speech.

   3.   On April 1, 2022, the University of Idaho College of Law in Moscow, Idaho

held a “moment of community” in response to an anti-LGBTQ+ slur that was left on

a whiteboard at the University’s Boise campus.

   4.   Members of the Christian Legal Society (“CLS”) chapter at the College of Law

gathered at the “moment of community” to condemn the slur and to publicly support

and pray in solidarity with their fellow students at the University.

   5.   But while they were there, a student approached them and asked why the

chapter required its officers to affirm the belief that marriage is between one man

and one woman.

   6.   One CLS member respectfully explained that the chapter requires this

because it is the only view of marriage and sexuality affirmed in the Bible.

   7.   Soon after, a second CLS member left a handwritten note for the student and

told her that he would be happy to discuss this further with her so that they could

both fully be heard and better understand one another’s views.

   8.   The next Monday, April 4, this student and several others publicly denounced

CLS’s actions at a panel with the American Bar Association. The student even said

that one of the CLS students told her to go to hell, which was untrue.

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   9.    A third CLS member attended that meeting and explained that these

statements were inaccurate, that the biggest discrimination he had seen on campus

was the discrimination against CLS and its religious beliefs, and that he was

concerned about the state of religious freedom on campus.

   10. Three days later, all three of these CLS members received no-contact orders

from the University’s Office of Civil Rights and Investigations. The orders prohibit

any communication between Plaintiffs and another student. The CLS members did

not receive notice that anyone had complained about them and were not given an
opportunity to review the allegations against them or defend themselves.

   11. Instead of allowing the students to disagree civilly and respectfully with one

another and to discuss these important issues, the University chose instead to censor

Plaintiffs.

   12. The University issued these no-contact orders under their Title IX Sexual

Harassment Policy and their Code of Conduct and Disciplinary Policies.

   13. But the University has applied these Policies to the students because of their

protected speech, not any conduct.

   14. The University has also applied these Policies to the students because the

University deemed the content of their speech controversial and because their

viewpoints are disfavored or unpopular.

   15. These actions violate the students’ clearly established rights under the First

Amendment’s Free Speech Clause.

   16. Further, the University’s Policies and their application of those Policies also

violate the students’ clearly established rights to exercise their religious beliefs under

the First Amendment, to procedural due process, and to religious exercise under
Idaho’s Free Exercise of Religion Protected Act.

   17. These three students now sue as Plaintiffs and are entitled to their requested

declaratory, injunctive, and monetary relief.
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                                 JURISDICTION & VENUE

   18. Plaintiffs sue under 42 U.S.C. § 1983 for violations of the First and

Fourteenth Amendments to the United States Constitution and under Idaho Code

§ 73-402 for violations of Idaho’s Free Exercise of Religion Protected Act.

   19. Plaintiffs seek declaratory relief under 28 U.S.C. §§ 2201–02 and Federal

Rule of Civil Procedure 57, injunctive relief under 42 U.S.C. § 1343 and Federal Rule

of Civil Procedure 65, damages under 42 U.S.C. § 1343 and Idaho Code § 73-402(4),

and reasonable attorneys’ fees and costs under 42 U.S.C. § 1988 and Idaho Code § 73-

402(4).

   20. This Court has original jurisdiction over the federal claims under 28 U.S.C.

§§ 1331 and 1343 and supplemental jurisdiction over state claims under 28 U.S.C.

§ 1367.

   21. This Court also has jurisdiction under 28 U.S.C. § 1343 because Plaintiffs

seek to recover damages and equitable relief under 42 U.S.C. § 1983.

   22. Venue is proper in this district and division under 28 U.S.C. § 1391(b) and

Dist. Idaho Loc. Civ. R. 3.1 because a substantial part of the events or omissions

giving rise to Plaintiffs’ claims occurred in this district and because Defendants reside

in this district and division.

                                      PLAINTIFFS

   23. Plaintiffs Peter Perlot, Mark Miller, and Ryan Alexander are students at the

University of Idaho College of Law (the “Law School”) and are officers or members of

the Law School’s Christian Legal Society.

   24. Plaintiff Perlot is a third-year law student and the President of CLS.

   25. Plaintiff Miller is a second-year law student and an active member of CLS.

   26. Plaintiff Alexander is a first-year law student and the 1L Representative of

CLS.


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   27. Plaintiffs are professing Christians.

   28. Plaintiffs’ religious beliefs include that God created the institution of

marriage to unite one man and one woman.

   29. Plaintiffs are motivated by their sincerely held religious beliefs to share the

Gospel of Jesus Christ and to speak on campus on many topics from a Christian

worldview.

   30. Plaintiffs believe that their on-campus speech is a way to share the Gospel

with non-Christians and a way to disciple and equip other Christians on campus to
grow and mature in their faith.

                                     DEFENDANTS

   31. Defendant C. Scott Green is the President of the University of Idaho (the

“University”).

   32. The Idaho State Board of Education has appointed Defendant Green to be

“the chief program and administrative officer” for the University of Idaho and given

Green “full power and responsibility . . . for the organization, management, direction,

and supervision” of the University and “all of its units, divisions, and services.” Ex. 1

(Idaho State Board of Education Governing Policies and Procedures, Section I.E.2.a).

   33. The Idaho State Board of Education has authority to delegate this power

under Idaho Code § 33-107(4)(c).

   34. Defendant Green directly oversees the University’s Office of Civil Rights and

Investigations. Ex. 2 (University Organization Chart).

   35. Defendant Green knows or should know that the challenged University

Policies unconstitutionally regulate student speech and have been applied

unconstitutionally to Plaintiffs’ speech. Although Defendant Green knows this, he

has not amended or repealed those Policies or taken any other corrective action as to

their application here.


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   36. Defendant Green is sued for declaratory and injunctive relief in his official

capacity and for damages in his individual capacity.

   37. Defendant Eckles is the Vice Provost for Student Affairs and the Dean of

Students.

   38. As the Dean of Students, Mr. Eckles oversees all aspects of student discipline,

including any discipline for students who violate the Student Code of Conduct. Ex. 3

(Office of the Dean of Students and Student Conduct webpages).

   39. Defendant Eckles knows or should know that the challenged University
Policies unconstitutionally regulate student speech and have been applied

unconstitutionally to Plaintiffs’ speech. Although Defendant Eckles knows this, he

has not amended or repealed those Policies or taken any other corrective action as to

their application here.

   40. Defendant Eckles is sued for declaratory and injunctive relief in his official

capacity and for damages in his individual capacity.

   41. Defendant Erin Agidius is the Director of the Office of Civil Rights and

Investigations for the University.

   42. As Director, Defendant Agidius oversees all aspects of the Office of Civil

Rights and Investigations, including “training, education and investigation of

complaints.” Ex. 4 (Office of Civil Rights & Investigations, “Meet Our People”).

   43. Defendant Lindsay Ewan is the Deputy Director of the Office of Civil Rights

and Investigations for the University.

   44. As Deputy Director, Defendant Ewan “supervises and directs the work of the

civil rights investigators in the course of investigations involving students and

employees.” Id.
   45. Defendants Agidius and Ewan know or should know that the challenged

University Policies unconstitutionally regulate student speech. Although Defendants

Agidius and Ewan know this, they have not amended or repealed those Policies or
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taken any other corrective action as to their application here.

     46. Defendants Agidius and Ewan have unconstitutionally applied the

challenged Policies to censor Plaintiffs’ speech.

     47. Defendants Agidius and Ewan are sued for declaratory and injunctive relief

in their official capacities and for damages in their individual capacities.

     48. Each of the acts and Policies alleged in this Complaint are and were

attributed to Defendants who have acted and continue to act under color of a statute,

regulation, or custom of the State of Idaho.

                                  FACTUAL ALLEGATIONS

I.    Defendants’ challenged Policies
     49.    The University’s Office of Civil Rights and Investigations (the “Office of Civil

Rights”) and Dean of Students implement and enforce several nondiscrimination

Policies.

     50.    The University’s Title IX Sexual Harassment Policy (the Title IX Policy),

along with the Student Code of Conduct and the Disciplinary Process for Alleged

Violations of Student Code of Conduct (together the Conduct and Discipline Policies),

prohibit different types of harassment and discriminatory behavior.

      A. The Title IX Policy
     51.    The University’s Title IX Policy requires the Office of Civil Rights to issue

various interim measures, including no-contact orders, in response to complaints

about sexual harassment.

     52.    The University recently updated its Title IX Policy in January 2022 to be

consistent with federal regulations regarding Title IX. Ex. 5 (Policy 6100 – Title IX

Sexual Harassment); see 34 C.F.R. §§ 106.30–.46.

     53.    The University’s Policy prohibits “sexual harassment,” which it defines to

include “conduct on the basis of sex” that is “determined by a reasonable person to be


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so severe, pervasive, and objectively offensive that it effectively denies a person equal

access to the University’s education program or activity.” Ex. 5 at 3, Sec.

D-19.b.

       54.   If a student reports sexual harassment, the Policy requires the Office of Civil

Rights to immediately “[i]mplement appropriate supportive measures for both the

respondent and the complainant. Supportive measures may be implemented with or

without the filing of a formal complaint.” Id. at 4, Sec. E-1.b.

       55.   “Supportive measures” include “[m]utual restrictions on contact between the
parties.” Id., Sec. E.1.b.1(e).

       56.   The Policy does not require the Office of Civil Rights to determine that

sexual harassment occurred or likely occurred.

       57.   The Policy does not require Defendants to give notice or a hearing to the

respondent before issuing these so-called “supportive measures.”

       58.   The Policy does not require Defendants to find that sexual harassment is

likely to occur in the future.

       59.   The Policy does not provide for any appeal of “supportive measures”

Defendants impose such as no-contact orders.

       60.   Moreover, the Office of Civil Rights “has sole authority to determine what

supportive measures are to be implemented.” Id. at 5, Sec. E.1.b.2.

        B. The Conduct and Discipline Policies
       61.   Similarly, the Conduct and Discipline Policies prohibit several types of

harassing and discriminatory behaviors and grants the Office of Civil Rights and

Dean of Students wide latitude to investigate and issue “interim action” they deem

fit.
       62.   As relevant here, the Policies prohibit four types of behavior:
             a. “Persistent or severe, verbal abuse, threats, intimidation, harassment,
                coercion, bullying, derogatory comments, vandalism, or other conduct

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            that threatens or endangers the mental or physical health or safety of
            any person or causes reasonable apprehension of such harm. A single
            instance may be considered severe enough to merit sanctions.”

         b. “Sexual harassment, which . . . includes, but is not limited to, unwelcome
            sexual advances, requests for sexual favors, and other verbal, nonverbal,
            or physical conduct or communication of a sexual nature when . . . [s]uch
            conduct is sufficiently severe or pervasive as to have the effect of creating
            an intimidating, hostile or offensive educational environment or
            negatively affecting a student’s educational opportunities. A single
            instance may be considered severe enough to merit sanctions.”

         c. “Gender-based and sexual orientation harassment . . . which is defined
            as any act of verbal, non-verbal, or physical aggression, intimidation, or
            hostility based on sex, sex-stereotyping, gender, or gender-stereotyping,
            even if those acts do not involve conduct of a sexual nature.”

         d. “Discrimination” based on “race, color, national origin, religion, sex,
            sexual orientation, gender identity/expression, age, disability or status
            as a Vietnam-era veteran.”

Ex. 6 at 4–5 (Policy 2300 – Student Code of Conduct); Ex. 7 (Policy 3200 – Policy of

Nondiscrimination); Ex. 8 (Policy 3215 – Non-Discrimination on the Basis of Sexual

Orientation and Gender Identity/Expression).

   63.   The Discipline Policy authorizes Defendants to take any necessary “interim

action” for actual or potential violations of any of the prohibitions in the Code of

Conduct, including the prohibitions above. Ex. 9 at 10, Sec. H (Policy 2400 –

University Disciplinary Process for Alleged Violations of Student Code of Conduct).

   64.   On information and belief, Defendants interpret the Discipline Policy to

allow “interim action” even if a formal complaint is not filed.

   65.   The authorized “interim action” includes “[i]ssuance of a no-contact order.”

Id. Sec. H-4.b.

   66.   The Discipline Policy does not require Defendants to determine that the

Conduct Policy was violated or likely violated.




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   67.    The Discipline Policy does not require Defendants to give notice or a hearing

to a respondent before issuing a no-contact order, id., Sec. H-2, and even states that

“[a] no-contact order should be routinely issued in Title IX cases.” Id., Sec. H.3.

   68.    The Discipline Policy does not require Defendants to find that there is a risk

of future violations before issuing a no-contact order.

   69.    In fact, the Discipline Policy exempts the issuance of no-contact orders from

any factual finding of future harm. Id., Sec. H-2.

   70.    Similarly, in Title IX cases, Defendants’ Discipline Policy exempts the
issuance of a no-contact order from any “specific determination” that future harm is

likely to occur. Id., Sec. H-3.

   71.    Defendants’ Discipline Policy allows an appeal of a no-contact order only to

the same officer that issued the order. Id. at 11, Sec. H-7.

   72.    Defendants provide “no formal procedures for this appeal.” Id., Sec. H-7.

   73.    During the pendency of the appeal, the no-contact order “remain[s] in effect.”

Id., Sec. H-7.

II. Defendants punish Plaintiffs for defending Christian Legal Society’s
    religious beliefs.
   74.    Defendants have applied their Title IX Policy and Conduct and Discipline

Policies against each of the Plaintiffs based on Plaintiffs’ religious speech.

     A. Plaintiffs went to great efforts to get the University to approve their
        Christian Legal Society chapter.
   75.    Plaintiff Miller and several other students founded the University’s

Christian Legal Society chapter in the Fall of 2021.

   76.    The Christian Legal Society is “a fellowship of Christians dedicated to

serving Jesus Christ through the practice and study of law, the defense of religious

freedom and life, and the provision of legal aid to the needy.” About Us, Christian




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Legal Society, https://www.christianlegalsociety.org/about (last visited Apr. 20,

2022).

      77.    CLS has over 54 chapters of practicing attorneys and 120 chapters of law

students across the country. Christian Legal Society, Annual Report 2020, at 27–28,

https://www.christianlegalsociety.org/sites/default/files/site_files/AnnualReport_202

0_low.pdf (last visited Apr. 20, 2022).

      78.    The chapter’s Constitution specifically states that “[a]ll officers must also

affirm the CLS Community Life Statement and agree to operate the Chapter under
its principles.” Ex. 10 at 2 (CLSUI Chapter Constitution).

      79.    The CLS Community Life Statement provides in part: “We renounce

unbiblical behaviors, including deception, malicious speech, drunkenness, drug

abuse, stealing, cheating, and other immoral conduct such as using pornography and

engaging in sexual relations other than within a marriage between one man and one

woman.” Ex. 11 (CLS Community Life Statement).

      80.    The Community Life Statement also contains other traditional and well-

known Christian beliefs, including the following:

             a. “We believe that the Bible, God’s written word, is the ultimate guide for
                our values, attitudes, and behaviors”;

             b. “We seek to respect the uniqueness of all people, including our differences
                in race, sex, ethnicity, and talents, for each bear’s God’s image”;

             c. “We acknowledge that every person has engaged in attitudes and
                behaviors that fall short of God’s standards, and we rejoice in God’s
                forgiveness to all repentant believers”; and

             d. “We acknowledge the Biblical mandate to treat all persons with love and
                respect, even if we disagree over these values, attitudes, and behavior.”
Id.




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   81.    Plaintiff Miller and the students attempted to register their own CLS

chapter at the beginning of the school year but were continually delayed by the law

school’s student government body.

   82.    Several students, including members of the student government, expressed

disapproval of the chapter because its Constitution requires officers to affirm that

marriage is between one man and one woman.

   83.    During two separate sessions, the student government debated whether

they would allow CLS to require its leaders to hold beliefs consistent with CLS’
mission and purpose.

   84.    Additionally, several CLS officers also received emails from other students

objecting to CLS’ religious beliefs. One student stated that CLS’s religious belief “is

an invalidation of someone’s very existence who is a LGBTQ person” and that he has

“been spreading word about this issue to other students because I believe many do

not know about it and would find it concerning as I have.” Ex. 12 (Email, “Concerning

Actions by the Christian Legal Society”).

   85.    Because of the hostility towards CLS’ religious beliefs, the Dean of the law

school had to intervene and approve the chapter in November 2021.

   86.    The chapter has a faculty advisor who teaches at the Law School.

   87.    Since then, the chapter has met weekly to hold Bible studies and has about

ten regular members.

   88.    The chapter also regularly holds events open to all law students. In the Fall

of 2021, it hosted a speaker to discuss church law. And on April 20, 2022, it jointly

hosted a panel on religious liberty with the law school’s Federalist Society and ACLU

chapters.




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       B. Plaintiffs Perlot and Miller are approached by another law student
          to question their group’s religious beliefs.
      89.    On April 1, 2022, the law school held a “moment of community” in response

to an incident at the Boise campus.

      90.    Law school Dean Johanna Kalb emailed all law students and explained that

someone wrote a derogatory slur directed at the LGBTQ+ community on a classroom

whiteboard at the Boise campus. Ex. 13 at 1 (Emails from Deans regarding Moment

of Community).

      91.    Her email also reiterated the need to “disagree and debate, while also caring
for and respecting each other.” Id.

      92.    She also stated,
       I want to be very clear that I expect and hope that our classrooms and
       hallways will be a place of robust discussion and debate. In every place I’ve
       worked, including here, I have had the great fortune to discuss and learn
       from faculty, staff, and students whose views differ from my own. I have
       made mistakes and learned from them, and I’ve grown and changed as a
       result, as a person and as a lawyer. The foundation for all of these
       discussions is mutual respect and grace. Bullying is not a conservative or a
       liberal value, and I will do everything in my power to stop it.
Id.

      93.    The law school’s associate deans sent a follow up email inviting everyone

who has ever “felt marginalized or excluded” or who “just want[s] to show support for

those who have” to participate in a “moment of community” on the front steps of the

law school buildings on each campus. Id. at 1.

      94.    Plaintiffs Perlot and Miller, along with most of the other CLS members and

their faculty advisor, desired to participate in this event to denounce the slur and

marginalization of any members of the community.

      95.    Plaintiff Alexander was unable to attend the event because he was ill.




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    96.    When they arrived the morning of the event, Plaintiffs Perlot and Miller and

about eight other members of CLS formed a circle on the steps in front of the law

school and began praying.

    97.    As prayer continued, about 30 other individuals who were not part of CLS

also joined the gathering.

    98.    One of those individuals was the subject of the no-contact orders against

Plaintiffs. To respect her privacy, Plaintiffs refer to her as Ms. Doe. 1

    99.    After the prayer ended, Ms. Doe asked the CLS members why the CLS

constitution states that marriage is between one man and one woman.

    100. Mr. Miller responded that this requirement is based on a biblical view of

marriage and sexuality.

    101. Ms. Doe responded that she did not think the Bible supported that belief.

    102. Mr. Miller explained that the Bible defines marriage between a man and a

woman in several places and that it condemns homosexuality, just like every other

sin.

    103. Ms. Doe did not say anything further to Mr. Miller or any other CLS

members, and their conversation concluded at that point.

    104. In this conversation, Mr. Miller and Ms. Doe civilly and respectfully

expressed their disagreement with one another.

    105. Other attendees at the event, including some faculty members, also

witnessed the conversation.

    106. After the event, Plaintiff Perlot left a handwritten note for Ms. Doe at her

desk when she was not present. The note invited her to come to a CLS event or to

talk with him if she wanted to have more discussion about that issue or to learn more

about CLS.

1 Plaintiffs have also redacted Ms. Doe’s name and other unnecessary personally
identifying information from the exhibits to the Complaint.
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   107. Plaintiff Perlot did this because he thought that a one-on-one conversation

would allow both he and Ms. Doe an opportunity to be fully heard and better

understand one another’s views.

   108. Several other members of the campus community expressed hostility toward

Plaintiffs even though Plaintiffs civilly and respectfully explained their beliefs and

even though they did so in response to a direct question about those beliefs.

   109. The following Monday, on April 4, several students staged walkouts for two

of the classes taught by the CLS faculty advisor.
   110. Another professor placed a sign on her office door that reads “I stand with

our LGBTQI+ students, staff, and faculty and everyone who has experienced

discrimination at this law school. At this public university your personal religious

beliefs are not an excuse to deprive others of their rights under the law.” Ex. 14 (Sign

Posted by Professor).

   111. The president of the Law School’s student government also condemned

Plaintiffs’ religious beliefs in a Facebook post. He stated that he was “sickened and

saddened” by what CLS did and that “[w]hat was meant to be a showing of love and

support devolved into proselytizing.” Ex. 15 (Facebook Post).

   112. He also stated that “[p]reaching that marriage is between a man and a

woman is beyond the pale” but begrudgingly affirmed that the CLS students were

“within [their] constitutional rights” to pray and talk at the event. Id.

   113. On information and belief, Defendants have not restricted the speech of or

otherwise punished the professor or any of the students who engaged in the above

expression.

     C. Plaintiff Alexander and other students defend the Christian Legal
        Society at a subsequent event.
   114. The Monday after the event, the Law School hosted members of the

accreditation panel of the American Bar Association (the “ABA”).

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   115. Before the ABA arrived, the Law School told all of the students that there

would be an ABA panel for the students on April 4 to talk about any concerns that

the students had.

   116. Plaintiffs Alexander and Perlot and 3 other CLS members attended the

event.

   117. At the panel, several students, including Ms. Doe, stated that certain

students from the Christian Legal Society had religious beliefs that were bigoted and

anti-LGBTQ+.
   118. Ms. Doe even stated that she had personally experienced instances of bigotry

and that some students in the room had told her to go to hell.

   119. None of the Plaintiffs have ever told Ms. Doe to go to hell.

   120. After the other students made their comments, Plaintiff Alexander spoke up

and explained that Ms. Doe is the one who initiated the conversation on April 1 and

that the biggest instance of discrimination was actually the delay in registering CLS

last fall.

   121. Plaintiff Alexander also stated that the CLS members just wanted to live in

a manner consistent with their religious beliefs and that he was concerned about the

state of religious freedom on campus.

   122. Plaintiff Alexander said nothing further at the event. Neither Plaintiff

Alexander nor Plaintiff Perlot spoke with Ms. Doe directly during or after the ABA

panel.

     D. The University issues no-contact orders against Plaintiffs because of
        their religious expression.
   123. That same day, April 4, Defendant Ewan interviewed Plaintiff Miller about

the events that happened during the “moment of community” on April 1. In that
interview, Mr. Miller explained what happened and how his conversation with Ms.

Doe proceeded.

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   124. Defendant Ewan told Mr. Miller that he was not in trouble and that she was

simply trying to understand what happened on April 1.

   125. During the interview, Defendant Ewan also stated that Title IX allowed her

office to provide “supportive measures to those in need” and asked Plaintiff Miller to

keep this in mind in case he or any of his colleagues were feeling anxious or concerned

about attending classes after the events on April 1.

   126. Then on April 7, each of the Plaintiffs received a no-contact order issued by

Defendant Ewan. Exs. 16, 17, & 18.
   127. The orders prohibit each of the Plaintiffs from having any contact with Ms.

Doe and are substantively identical.

   128. The orders prohibit Plaintiffs from “contacting Ms. Doe in any way, from this

point forward, and until otherwise notified,” and “under any circumstances.”

   129. The orders say contact “can be defined as, but is not limited to”: “[w]ritten,”

“[v]erbal,” “[e]lectronic,” and “[n]on-[v]erbal” communication, including mail, letters,

text messages, telephone, voicemail, in person, email, social media, skype, pictures,

videos, or music.

   130. The orders further mandate that Plaintiffs “sit on opposite sides of the room”

from Ms. Doe during any courses they may have with her.

   131. Plaintiffs must first obtain permission from the Office of Civil Rights if they

believe they have a “legitimate reason” to contact Ms. Doe.

   132. The orders warn that the Office of Civil Rights “may be in contact with you

regarding other measures that may need to be taken as a result of this no-contact

order.” These actions may include class schedule adjustments, residence hall

restrictions, or on campus work schedule adjustments.
   133. The orders apply both on- and off-campus.

   134. The orders do not have a termination date. Id.

   135. The orders state that even classroom interaction with Ms. Doe must first be
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approved by the Office of Civil Rights and “shall pertain only to relevant academic

work being discussed.” Id.

   136. The orders state that “[a]ny action deemed to be in violation of this no-contact

order will be taken seriously and considered retaliation. Further action may be taken

by this administration as a result, which could include suspension or expulsion.” Id.

   137. The orders also state that Ms. Doe has received a similar no-contact order

prohibiting her from contacting any of the Plaintiffs.

   138. Defendants did not conduct any investigation regarding Plaintiffs Perlot and
Alexander, present any factual findings or witnesses to any Plaintiff, or give any

Plaintiff an opportunity to respond to the complaints against them before the Office

of Civil Rights issued the orders.

   139. Defendant Ewan admitted to Plaintiff Perlot that “[n]o investigation has

occurred” and “no facts have been determined.” Ex. 19 (Follow-up emails between

Perlot and Defendant Ewan).

   140. In fact, Defendants did not even contact Plaintiffs Alexander or Perlot before

issuing these orders.

   141. Rather, Defendants told Plaintiff Perlot that they issued the no-contact order

because it “was requested by [Ms. Doe] and deemed reasonable based on the

information presented.” Id.

   142. The no-contact orders do not specify the reason the orders were issued.

   143. On information and belief, Defendants issued the no-contact order against

Plaintiff Miller because he responded to Ms. Doe’s questions about CLS’ religious

beliefs at the “moment of community” on April 1.

   144. On information and belief, Defendants issued the no-contact order against
Plaintiff Perlot because of the note he left Ms. Doe after the “moment of community”

offering to speak with her further if she so desired.

   145. On information and belief, Defendants issued the no-contact order against
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Plaintiff Alexander because of his comments defending CLS’ religious beliefs at the

ABA meeting on April 4.

   146. On information and belief, Defendants issued these no-contact orders under

the Conduct and Discipline Policies and the Title IX Policy.

     E. Plaintiffs are suffering ongoing harm from the no-contact orders.
   147. Because of these orders, all Plaintiffs credibly fear that Defendants will

sanction Plaintiffs or issue other no contact orders if Plaintiffs express their religious

beliefs, even if they do so in direct response to a question asking what their beliefs
are and why they hold those beliefs.

   148. Defendants’ no-contact orders have inflicted great stress and anxiety on

Plaintiffs.

   149. Plaintiffs fear that any expression of their sincerely held religious beliefs will

run afoul of Defendants’ interpretation of their Policies.

   150. Plaintiffs worry what they can and cannot say on campus without running

afoul of Defendants’ Policies.

   151. Plaintiffs therefore have self-censored on campus when expressing their

religious beliefs and other beliefs that some may disagree with.

   152. Before speaking, Plaintiffs weigh how other students will receive their speech

and whether their speech will prompt those students to complain to Defendants.

   153. Plaintiffs must also contend with the constant fear that Defendants may

issue future no-contact orders on the basis of their protected speech at any time and

without prior notice or process.

   154. Plaintiff Alexander is the same year as Ms. Doe and currently has four

classes with her. He is worried about addressing or responding to Ms. Doe or even
Ms. Doe’s statements or ideas in these classes, and is concerned that Defendants may

deem his seat not on the “opposite side[ ] of the room” and therefore in violation of

the order.
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   155. Before the April 4 event, Plaintiff Alexander had only made cordial small talk

with Ms. Doe and had not engaged in any lengthy discussion with her.

   156. Before the April 1 incident, Plaintiffs Miller and Perlot had never engaged in

conversation with Ms. Doe.

   157. Plaintiffs also suffer stress and anxiety from the future consequences of

Defendants’ no-contact orders.

   158. Plaintiffs are all in law school and intend to apply for admission to the bar so

that they can practice law.
   159. Bar applications often ask questions relating to discipline by academic

institutions.

   160. A disciplinary record from an academic institution could jeopardize

admission to the bar.

   161. For example, Idaho’s application for admission to the bar asks whether an

applicant has “ever been investigated, suspended, expelled, or disciplined, formally

or informally, by any school, college, or university.”

   162. At the very least, Defendants’ no-contact orders signal an investigation and

may constitute informal discipline.

   163. Plaintiffs thus credibly fear that Defendants’ no-contact orders may endanger

their future careers and cause them to have diminished earning potential.

   164. Plaintiffs have observed that the University allows students to discuss

almost any content with each other, whether in the classroom, in the hallways, or

elsewhere on or off campus.

   165. Indeed, the Law School Dean even emphasized this in her email announcing

the “moment of community”: “I expect and hope that our classrooms and hallways
will be a place of robust discussion and debate.” Ex. 13.

   166. Plaintiffs have also observed that the University allows, and even promotes,

students who express viewpoints on sexuality and marriage opposed to their own,
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including those who have expressly condemned Plaintiffs’ and CLS’ views on

sexuality.

   167. Plaintiffs attempted to resolve this dispute without court intervention.

   168. On April 8, Mr. Langhofer, counsel for the Plaintiffs, spoke with the

University’s general counsel, James E. M. Craig.

   169. Mr. Langhofer explained that the no-contact orders violated Plaintiffs’ First

Amendment rights because they were issued based on the content and viewpoint of

Plaintiffs’ religious speech. Mr. Langhofer further explained that the no-contact
orders violated Plaintiffs’ due process rights because the University had conducted

no investigation and issued the orders without any formal or even informal hearing.

   170. Over the following two weeks, Mr. Langhofer communicated multiple times

with the University’s counsel through email and telephone.

   171. Unfortunately, the University refused to rescind the no-contact orders. The

University insisted that Title IX authorizes the University to issue these no-contact

orders as supportive measures solely because Ms. Doe disagreed with Plaintiffs’

expression of their religious beliefs.

   172. As a result, Plaintiffs were forced to file this lawsuit.

                               FIRST CAUSE OF ACTION
                        First Amendment: Freedom of Speech
                                  (42 U.S.C. § 1983)
   173. Plaintiffs repeat each of the allegations in paragraphs 1–172.

   174. The First Amendment’s Free Speech Clause, incorporated and made

applicable to the states by the Fourteenth Amendment, prohibits censorship of

religious expression.

   175. Private student expression is protected by the First Amendment.

   176. A University cannot restrict a student’s private expression based on either

its content or its viewpoint unless that restriction serves a compelling governmental

interest and is narrowly tailored to that interest.
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   177. Defendants here have censored Plaintiffs based on the content and viewpoint

of their speech.

   178. Plaintiffs’ expression, including at the “moment of community” event and the

ABA panel, is protected speech under the First Amendment.

   179. Pursuant to their Title IX Policy and Conduct and Discipline Policies,

Defendants issued no-contact orders that singled out Plaintiffs’ expression and

prevented them from engaging in religious expression with Ms. Doe.

   180. Defendants’ no-contact orders have also chilled Plaintiffs from engaging in
religious expression with other students at the Law School or the rest of the

University.

   181. Defendants have thus censored Plaintiffs based on Plaintiffs’ religious views

and on the content of their speech.

   182. Defendants allow speech between students on a wide variety of content. Nor

have Defendants censored students who express views on sexuality and marriage

opposed to Plaintiffs’ views, including speech expressly condemning Plaintiffs and

CLS.

   183. Defendants’ censorship does not serve any compelling government interest,

nor is it narrowly tailored to any such interest.

   184. In addition to the fact that it is not a content-neutral restriction, Defendants’

no-contact order is unconstitutional because it is not narrowly tailored to serve a

significant government interest and does not leave open ample alternative channels

of communication.

   185. Defendants’ Title IX Policy and Conduct and Discipline Policies also violate

the First Amendment’s Free Speech Clause because they grant Defendants unbridled
discretion to restrict protected speech.

   186. By permitting Defendants to issue no-contact orders without first requiring

them to find an actual violation of these Policies and without providing notice and a
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hearing to the respondent, Defendants have license to issue no-contact orders against

views or content they deem controversial or unpopular.

   187. Further, Defendants can issue no-contact orders for an indefinite duration

and have discretion to restrict different types of content or viewpoints in the no-

contact orders themselves.

   188. Defendants’ no-contact orders and the Title IX Policy and Conduct and

Discipline Policies that authorize them also violate the First Amendment’s Free

Speech Clause because they are unconstitutional prior restraints on speech.
   189. Defendants cannot justify the no-contact orders under strict scrutiny. Nor

can Defendants justify them as a content-neutral regulation under intermediate

scrutiny.

   190. Defendants also cannot justify the Title IX Policy and Conduct and Discipline

Policies to the extent that they authorize no-contact orders that are issued solely on

a student’s expressive activity because the Policies are overbroad, impose prior

restraints, and grant unbridled discretion.

   191. Defendants’ Conduct and Discipline Policies also violate the First

Amendment’s Free Speech Clause because they are facially overbroad.

   192. Defendants’ definition of harassment, sexual harassment, and gender-based

and sexual orientation harassment reaches a substantial amount of constitutionally

protected speech.

   193. By defining harassment or sexual harassment to include even “[a] single

instance” of verbal conduct and defining gender-based and sexual orientation

harassment to include “any act of verbal . . . aggression, intimidation, or hostility,”

the University can punish virtually any protected expression as harassment.
   194. The overbreadth of the Conduct and Discipline Policies chills Plaintiffs’

speech.

   195. To the extent that Defendants issued the no-contact orders based on any of
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these    types   of   harassment   or   potential   harassment,    Defendants     have

unconstitutionally discriminated against Plaintiffs under these Policies because

Plaintiffs engaged in protected expression.

   196. Defendants’ Conduct and Discipline Policies and their enforcement of those

Policies are therefore unconstitutionally overbroad and violate Plaintiffs’ free speech

rights under the First Amendment’s Free Speech Clause.

   197. Defendants’ Title IX Policy and Conduct and Discipline Policies, both facially

and as applied, violate the Free Speech Clause of the First Amendment.
   198. Because of Defendants’ actions, Plaintiffs have suffered, and continue to

suffer, economic injury and irreparable harm, and are entitled to an award of

monetary damages and equitable relief.

                           SECOND CAUSE OF ACTION
                  First Amendment: Free Exercise of Religion
                              (42 U.S.C. § 1983)
   199. Plaintiffs repeat each of the allegations in paragraphs 1–172.

   200. Plaintiffs are motivated by their sincerely held religious beliefs to speak on

campus on many topics from a Christian worldview. Plaintiffs believe their on-

campus speech is a way to share the Gospel of Jesus Christ with non-Christians and

a way to disciple and equip other Christians on campus to grow and mature in their

faith.

   201. The First Amendment’s Free Exercise Clause guarantees religious believers–

at a bare minimum—equal treatment.

   202. A public university policy that burdens religious exercise and is not both

neutral and generally applicable must satisfy strict scrutiny.

   203. And a public university policy that targets religious beliefs is never

permissible.

   204. Defendants’ application of their Title IX Policy and Conduct and Discipline

Policies burdens religious exercise because Defendants apply these Policies to exclude
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certain religious viewpoints.

   205. These Policies, as applied, are not neutral or generally applicable.

   206. Rather, Defendants have specifically targeted Plaintiffs’ speech on sexuality

and marriage because of the religious views Plaintiffs expressed at the “moment of

community” and the ABA panel.

   207. Defendants’ application of their Title IX Policy and Conduct and Discipline

Policies does not support a compelling government interest and is not narrowly

tailored to any such interest.
   208. Defendants’ application of these Policies thus violates the Free Exercise

Clause of the First Amendment.

   209. Because of Defendants’ actions, Plaintiffs have suffered, and continue to

suffer, economic injury and irreparable harm, and are entitled to an award of

monetary damages and equitable relief.

                           THIRD CAUSE OF ACTION
              Fourteenth Amendment Right to Due Process of Law
                             (42 U.S.C. § 1983)
   210. Plaintiffs repeat each of the allegations in paragraphs 1–172.

   211. Before a public university can discipline a student, procedural due process

requires at a minimum that the student be given notice and an opportunity for a

hearing before an impartial tribunal.

   212. By issuing no-contact orders against Plaintiffs and threatening penalties for

violating those orders, Defendants disciplined them for their religious speech.

   213. But Defendants, pursuant to the Title IX Policy and Discipline Policy, did not

give notice or an opportunity for a hearing before an impartial tribunal to any of the

Plaintiffs.

   214. Nor did Defendants set a hearing after the no-contact orders were issued to

determine whether the keep the orders in place after a certain point.

   215. In fact, the no-contact orders remain in place indefinitely unless the Office of
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Civil Rights orders otherwise.

   216. Defendants have thus violated Plaintiffs’ right to procedural due process

under the Fourteenth Amendment.

   217. Additionally, by punishing and threatening to punish Plaintiffs under vague

and overbroad Policies for their expression, Defendants have violated and are

violating Plaintiffs’ right to due process of law under the Fourteenth Amendment.

   218. Defendants’ no-contact orders and Title IX Policy and Conduct and Discipline

Policies are unconstitutionally vague.
   219. Defendants’ no-contact orders, Title IX Policy, and Conduct and Discipline

Policies utilize terms that are inherently subjective and elude any precise or objective

definition that would be consistent from one official, professor, or student to another,

because they are incapable of providing meaningful guidance to Defendants and other

University officials, and because they force Plaintiffs to guess whether expression

that the First Amendment protects is in fact allowed on campus.

   220. The no-contact orders fail to define such terms as “approach,” “any attempt

to communicate with them in any form,” “sit on opposite sides of the room,” and

“legitimate reason to contact.”

   221. Defendants’ Title IX Policy and Conduct and Discipline Policies fail to define

any criteria for the imposition of no-contact orders and fail to employ safeguards to

ensure Defendants do not issue no-contact orders on the basis of even a single

instance of protected speech.

   222. Defendants’ Conduct and Discipline Policies fail to define terms such as

“verbal abuse,” “verbal . . . conduct or communication,” “act of verbal . . . aggression,

intimidation, or hostility,” “sexual orientation,” “gender identity/expression,” and “[a]
single instance may be considered severe enough to merit sanctions.”

   223. Defendants’ Title IX Policy and Conduct and Discipline Policies are also

unconstitutionally vague because they grant University officials unbridled discretion
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in deciding when to issue no-contact orders.

   224. The lack of objective criteria, factors, or standards in Defendants’ no-contact

orders, Title IX Policy, and Conduct and Discipline Policies renders the no-contact

orders and Policies unconstitutionally vague and in violation of Plaintiffs’ right to due

process of law.

   225. Because of Defendants’ actions, Plaintiffs have suffered, and continue to

suffer, economic injury and irreparable harm, and are entitled to an award of

monetary damages and equitable relief.

                            FOURTH CAUSE OF ACTION
                  Idaho Free Exercise of Religion Protected Act
                              (Idaho Code § 73-402)
   226. Plaintiffs repeat each of the allegations in paragraphs 1–172.

   227. Idaho’s Free Exercise of Religion Protected Act states that the “government

shall not substantially burden a person’s exercise of religion even if the burden

results from a rule of general applicability” unless the government shows that the

application of the burden is “[e]ssential to further a compelling governmental

interest” and is “[t]he least restrictive means of furthering that compelling

governmental interest.” Idaho Code § 73-402(2)–(3).

   228. Plaintiffs are motivated by their sincerely held religious beliefs to speak on

campus on many topics from a Christian worldview. Plaintiffs believe their on-

campus speech is a way to share the Gospel of Jesus Christ with non-Christians and

a way to disciple and equip other Christians on campus to grow and mature in their

faith.

   229. Defendants’ application of the Title IX Policy and Conduct and Discipline

Policies burdens religious exercise because Defendants apply these Policies to exclude

certain religious viewpoints.




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   230. This prevents Plaintiffs from freely sharing their Christian viewpoints on a

number of topics with others at the Law School and thus substantially burdens

Plaintiffs’ religious exercise.

   231. Defendants’ application of their Title IX Policy and Conduct and Discipline

Policies does not support a compelling governmental interest and is not the least

restrictive means of furthering any such compelling governmental interest.

   232. Defendants’ application of these Policies thus violates Idaho’s Free Exercise

of Religion Protected Act.
   233. Because of Defendants’ actions, Plaintiffs have suffered, and continue to

suffer, economic injury and irreparable harm.

   234. Plaintiffs seek only damages, costs, and attorney’s fees against Defendants

in their individual capacities under the Idaho Free Exercise of Religion Protected Act.

                                  PRAYER FOR RELIEF
     Thus, Plaintiffs respectfully request that this Court:

       A. Enter a judgment declaring that Defendants’ no-contact orders, Title IX

          Policy, and Conduct and Discipline Policies, facially and as-applied, violate

          Plaintiffs’ rights under the First Amendment and Fourteenth Amendment;

       B. Enter a preliminary and permanent injunction ordering Defendants sued

          in their official capacities, including their agents, officials, servants,

          employees, and any other persons acting on their behalf, to (1) stop

          enforcing the no-contact orders and their Title IX Policy and Conduct and

          Discipline Policies against protected expression, whether through formal

          discipline, “interim action,” “supportive measures,” or in any other way;

          (2) terminate any investigation related to the no-contact orders issued to

          Plaintiffs based on allegations of protected speech alone; and (3) remove

          any reference to the no-contact orders and investigations related to the no-

          contact orders in the University’s records for Plaintiffs;
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     C. Award compensatory damages for the reputational harm and emotional

        harm and distress Defendants have caused Plaintiffs;

     D. Award nominal damages for the violation of Plaintiffs’ constitutional and

        statutory rights;

     E. Award Plaintiffs’ reasonable attorneys’ fees and costs under 42 U.S.C.

        § 1988 and Idaho Code § 73-402(4); and

     F. Award any other relief to which Plaintiffs may be entitled.


  Respectfully submitted this 25th day of April, 2022.

/s/ Matthew C. Williams
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                                Counsel for Plaintiffs

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                            DEMAND FOR TRIAL BY JURY
  Plaintiffs demand a trial by jury for all issues so triable.

                                            /s/ Matthew C. Williams
                                            Matthew C. Williams
                                            Counsel for Plaintiffs



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                      DECLARATIO:'ll CNT>F.R PF.NAT.'T'Y OF PERJUR'Y


                                       A   cih:1.en of lhe l;niled States and a resident of
 the Stale of Idaho, declare under pcnn lty of perJu '1' under 28 t: .S. C. § 1716 that the
 above is lntc and correct co the bcs.r of my knowl�clge.

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    Executed rhi;; -"'-- day of .\pril. 2022. at   7: OJ.      11 ,A (r,r).
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                                        DECLARATION UNDER PENALTY OF PERJURY



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                       """""""                             J ::;.i,x:..xit<...!./J,:l,Ld.ke.L..f___ , a citizen of the United States and a resident of
the State of Idaho, declare under penalty of perjury under 28 U.S.C. § 1746 that the
above is true and correct to the best of my knowledge.


   Executed this            2.0±t,      day of April, 2022, at /v1of@ W ,                            Ida.ha




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